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                EXHIBIT B
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Valenzuela, Ronald A.

From:                                Thomas Schmidt <tpjschmidt@gmail.com>
Sent:                                Friday, December 10, 2021 6:49 PM
To:                                  Valenzuela, Ronald A.
Cc:                                  B. Bush; Bill Wick; David L. Evans; David Vanriper; Dennis Byrne; Jeffrey A. White
                                     (jwhite@hamricklaw.com); Justin Panitchpakdi; Justin Trujillo; Kristin Reyna DeHart;
                                     Summer Nastich; Thomas J. Weiss; Timothy Cronin; anguyen@ww-envlaw.com;
                                     bzagon@vnf.com; cwwalker@ww-envlaw.com; mnugent@gordonrees.com;
                                     szaman@weisslawla.com
Subject:                             Re: Today's Meet & Confer in Cal-Tron Plating Action


________________________________________________________________________
Thanks for the update Ron I appreciate it

On Fri, Dec 10, 2021 at 3:21 PM Valenzuela, Ronald A. <ronald.valenzuela@lathropgpm.com> wrote:

 Tom, Tom, and Justin: I wanted to fill you in on the outcome of today’s meet-and-confer given you three were unable to
 make the call.




     1. Plaintiffs proposed that the parties conduct focused discovery for the first six months following the Court’s
           issuance of a Scheduling Order. The aim would be for each side to obtain the information it believes it needs to
           engage in meaningful settlement discussions sometime in the summer of 2022. The parties would meet with the
           Court after the 6-month period to discuss whether the parties are interested in discussing settlement. Plaintiffs
           think the Court would be receptive to the parties building an “offramp” into the schedule that provides an
           opportunity for an early resolution of the case. I’m available until 5:30 p.m. (Pacific) today to provide more detail
           and to discuss any questions you may have. After that, I have a family dinner and attending a concert this
           evening, but if that is the only time you are available to talk, I can step out of the dinner/concert if necessary. I’m
           also happy to talk any time over the weekend. You can reach me on my cell: 310-351-3090.




     2. I pointed out that there were several problems with the schedule Dennis circulated. None of these issues appears
           intractable, but the parties need time to iron out the wrinkles. For example, Plaintiffs believe that the parties can
           be ready for trial in 2023, not 2024 as Defendants’ timetable proposes. Further, the schedule should incorporate
           Plaintiffs’ proposal, if Defendants are amenable to it.




     3. Mid-West Fabricating, Halliburton, and Santa Fe Rubber, all of whom were on today’s call, indicated that they
           would like time to consider Plaintiffs’ proposal.




     4. We agreed to meet again next week to discuss whether Defendants are amenable to Plaintiffs’ proposal and, if
           so, to begin discussing generally what discovery each side might need or want to focus on. I will propose a few
           days and times by separate e-mail.




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     5. In the meantime, I am drafting a joint report for submission to the Court on Monday that (a) describes Plaintiffs’
           proposal, (b) advises the Court that Defendants are considering it, and (c) indicates that the parties are working
           diligently to present the Court with a workable schedule, regardless of what the parties decide as to Plaintiffs’
           proposal. To evidence the parties’ diligence in trying to agree upon a scheduling order, we will attach the
           schedule Dennis circulated (though the report will note that Plaintiffs are not on board with the schedule, and the
           parties are working to resolve their differences). The report will also indicate that the parties intend to present the
           Court with a proposed schedule by January 17 to discuss, as necessary, during a January 20 scheduling
           conference. I will try to circulate a draft of Monday’s submission late this evening, but certainly by tomorrow
           morning.




Dennis, if I missed or misstated something, please feel free to chime in.




Ron




                                Ronald Valenzuela
                                Partner

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